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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                      )
                                                      )
 In re: PARAQUAT PRODUCTS                             )
 LIABILITY LITIGATION,                                )   Case No. 3:21-md-3004-NJR
                                                      )
                                                      )   MDL No. 3004
 This Document Relates to All Cases                   )
                                                      )

        DECLARATION OF JOSEPH ORLET IN SUPPORT OF DEFENDANTS’
       OBJECTIONS TO PRODUCTION OF HOFFMANN EXPERT MATERIALS


Pursuant to 28 U.S.C. § 1746, I, Joseph Orlet, declare as follows:

       1.      I am an attorney employed by Husch Blackwell and a member of the State Bar of

Illinois. I have appeared as counsel in this action for Chevron U.S.A. Inc. I submit this

declaration in support of Defendants’ Objections To Production Of Hoffmann Expert Materials.

I have personal knowledge of the facts set forth below and could competently testify upon these

matters if called upon to do so.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the protective order

entered by the Circuit Court in Hoffmann, et al. v. Syngenta, et al., No. 17-L-517, Cir. Ct., 20th

Jud. Cir., St. Clair Cnty., Ill. (the “Hoffmann Litigation”).

       3.      Attached hereto as Exhibit 2 is a true and correct copy of a letter dated July 28,

2021, received from Stephen M. Tillery regarding production of materials from the Hoffmann

Litigation. Certain confidential information in the letter has been redacted.

I declare under penalty of perjury that the foregoing is true and correct. Executed this 30th day

of August, 2021 in St. Louis, Missouri.

                                                   /s/ Joseph Orlet
                                                   Joseph Orlet

                                                  1
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                Exhibit 1
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                               IN THE CIRCUIT COURT
                          TWENTIETH JUDICIAL CIRCUIT
                            ST. CLAIR COUNTY, ILLINOIS


   THOMAS HOFFMANN, DIANA
   HOFFMANN, JERRY MILLS, RONALD
   NIEBRUEGGE, MARY NIEBRUEGGE,

   JOHN HOPKINS, FREEMON SCHMIDT,
   BETTY SCHMIDT, JAMES HEMKER,
   JUDITH HEMKER, CARROLL ROWAN,
   and MARY ROWAN,
                                                         No. 17 -L -517
         Plaintiffs,
   V.

   SYNGENTA CROP PROTECTION, LLC,
   SYNGENTA AG, CHEVRON PHILLIPS                                           FILED
                                                                     ST. CLAIR COUNTY
   CHEMICAL COMPANY LP, and
   GROWMARK INC.,
                                                                          SEP 1 1 2018
         Defendants.

                                                                                         CLF r{:
                                PROTECTIVE ORDER


        This Protective Order ( "Order') shall govern the use and dissemination of


  information and documents disclosed or produced in this action and designated as


  Confidential Information.


        1.     The terms " document" and " documents," as used in this Order, have


  the same meaning as in the Illinois Supreme Court Rules.

        2.     Any party to this action or other person or entity who discloses or

  produces any information or document in this action (the " Designating Party" or

   Producing Party ") may designate as " Confidential Information: ": (a)    any


  document or information that contains a Trade Secret, (b) any document or

  information whose publication or release to the public is barred or prohibited by


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  any state or federal law, (c) personal tax and medical records, or (d) any other

  documents that are not in the public domain and are so proprietary or

  competitively sensitive that their public disclosure would likely cause competitive

  injury. This latter category includes business plans, pricing plans, customer lists,

  marketing strategies, regulatory strategies, supply chains, manufacturing


  strategies, budgets, and account balances which have been kept confidential.


         3.      The term " Trade Secret" as used in this order means any information

  or document or portion thereof that constitutes or contains a trade secret under the


  law of the State of Illinois; i.e., any " technical or non -technical data, a formula,

  pattern, compilation, program, device, method, technique, drawing, process,

  financial data, or list of actual or potential customers or suppliers, that: ( 1) is


  sufficiently secret to derive economic value, actual or potential, from not being

  generally known to other persons who can obtain economic value from its

  disclosure or use; and (2) is the subject of efforts that are reasonable under the


  circumstances to maintain its secrecy or confidentiality."     765 ILCS 1065/ 2( d).


         4.      The designation of any document as " Confidential Information" shall

  be made by affixing on the document containing such information, and upon each

  page so designated if practicable, a legend that in substance states:


   CONFIDENTIAL - PARAQUAT LITIGATION ", and shall otherwise be made in a


  manner consistent with the relevant provisions of the Court' s order regarding the



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  preservation and production of documents and electronically stored information.

  The preferred location for the legend is the lower left side of the page, but the


  producing party may select another appropriate location as may be needed to

  avoid obscuring any portion of a particular document.

         5.      Any party to this action or other person or entity may make a

  preliminary designation of the testimony in a deposition as " Confidential

  Information" by stating that fact on the record at the deposition. Within fourteen

   14) calendar days (or the next business day if the 14th day falls on a weekend or

  holiday) after receiving the edited (not rough) deposition transcript, the

  Designating Party shall notify the court reporter, counsel of record for all parties,

  and counsel (if any) who appeared at the deposition for any non -party deponent,

  of the specific pages and lines in which Confidential Information appears. The


  court reporter shall supplement the transcript to mark the specific pages and lines


  designated as Confidential Information and amend the cover page to reflect that


  these specific designations have been made. Counsel of record for all parties and


  counsel (if any) who appeared at the deposition for any non -party deponent may

  have immediate access to the deposition transcript, but until the page and line


  designations have been made, shall treat the entire transcript as Confidential


  Information.




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        6.     Confidential Information that has been produced in this litigation


  may be disclosed only to:

               a.
                     The parties to this litigation, including Plaintiffs and
        Defendants, including any current or former officers, directors, employees,
        agents and representatives of the parties to the extent that such person( s) are

        assisting in the prosecution or defense of this action;

               b.     This Court and its personnel.


               C.
                      Outside counsel (including staff persons employed by such
        counsel) retained by a party for this litigation, regardless of whether they
        are counsel of record who have entered an appearance before this Court,

        provided that any such outside counsel and staff execute the Confidentiality
        Acknowledgement and Consent Form ( "Acknowledgement "), attached

        hereto as Exhibit A, prior to any disclosure to such outside counsel or staff,
        and that a copy of such signed Acknowledgement is retained by counsel for
        the party who retained such outside counsel;

               d.     In -house counsel of a party to this litigation (including staff
        persons employed by such counsel). In -house counsel for a Defendant may
        have access to Confidential Information produced by a Plaintiff, but not to
        Confidential Information produced by another Defendant;
               e.
                      Third party experts, vendors or consultants retained to assist
        counsel for the parties, provided that any such experts or consultants
        execute the Confidentiality Acknowledgement and Consent Form
          Acknowledgement "), attached hereto as Exhibit A, prior to any disclosure
        to such expert(s) or consultant( s),   and that a copy of such signed
        Acknowledgement is retained by counsel for the party who retained such an
        expert or consultant. Disclosure of Confidential material to an expert or
        consultant shall not constitute a designation of the person as an expert
        whose opinions may be presented at trial;

               f.     Any potential, anticipated or actual fact witness and his or her
        counsel, if separate from counsel to the parties, when such disclosure is
        reasonably necessary for the purpose of trial preparation, factual
        investigation, or discovery. If any such fact witness is not a current
        employee of any party or is a former employee of any party but is not
        represented by party counsel, such persons must execute the


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        Acknowledgement prior to disclosure, and a copy of such signed
        Acknowledgement must be retained by counsel for the party making the
        disclosure;


               g.    The author, addressee or recipient of the document or any
        other person who, from the face of the document, reviewed or had access to
        such document (not including a person who received the document solely
        in the course of the litigation);


               h.     Stenographers or court reporters who record testimony taken
        at any time or place in the course of this litigation or persons operating
        video recording equipment of and at such testimony;

               i.     Any mediator or third party appointed by the Court or jointly
        selected by the parties for settlement purposes;

             j.     Commercial copy services, translators, data entry and
        computer support organizations, and such persons who assist in preparing
        demonstrative trial exhibits, hired by and assisting counsel for a party,
        provided such commercial organizations are made aware of and agree to

        abide by the provisions of this Protective Order; and

               k.    Any other person agreed to in writing by the Designating
        Party, which agreement shall not be unreasonably withheld.

         7.
               If a party wishes to disclose Confidential Information to any person

  not described in paragraph 6 of this Order, permission to so disclose must be


  requested from the Designating Party in writing. If the Designating Party objects to

  the proposed disclosure within seven days, such disclosure shall not be made


  unless, upon motion by the party requesting such permission, this Court orders

  otherwise.




        8.     Where any Confidential Information or information derived from

  Confidential Information is included in any court filing, the parties shall comply

  with the applicable Illinois Supreme Court and Circuit Court Rules for the filing of

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  materials under seal, and such filing shall be marked " CONFIDENTIAL

  INFORMATION - SUBJECT TO PROTECTIVE ORDER" and placed in a sealed



  envelope marked with the caption of the case, filed with the Clerk of the Court


  and /or Court and held under seal.


         9.     Except to the extent authorized in and subject to paragraphs 16 and



  18 of this Order, Confidential Information shall not be used or disclosed for any

  purpose other than the preparation and trial of this case and /or any appeal thereof.

         10.    Any summary, compilation, notes, copy, electronic image or database

  containing Confidential Information shall be subject to the terms of this Order to

  the same extent as the information and documents from which it was made or


  derived.


         11.    Any party may object to a designation made under this Order by

  notifying the Designating Party in writing of that objection and specifying the

  designated information or document or portion thereof to which the objection is


  made. The parties shall, within fifteen (15) days of service of the written objection,


  confer in good faith concerning any such objection. If the objection is not resolved,

  either party may file a motion asking the Court to resolve the dispute. If no motion

  is filed within 30 days after the objection is served, the information or document


  shall be deemed to be Confidential Information, unless otherwise agreed by the

  parties. If a motion is filed, the information or document or portion thereof subject




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  to dispute shall, until further order of the Court, be treated consistently with its

  designation. With respect to any information or document or portion thereof

  which is re- designated or ceases to be subject to the protection of this Order either


  by agreement of the parties or an order by the Court, the Designating Party shall,

  at its expense, provide to each party which so requests additional copies thereof

  from which all confidentiality legends affixed hereunder have been adjusted to

  reflect the re- designation or removed as appropriate.


          12.      Upon any challenge to the designation of any information or

   document or portion thereof as Confidential Information, the Designating Party

   shall bear the burden of establishing that the relevant document or information

   qualifies for confidential protection under this Order. In the event the Court finds a


   lack of good faith in the designation of any information or document or portion

   thereof as Confidential Information, or the challenge thereto, the Court may award

   attorney' s fees and costs to opposing counsel in connection with such designation

   or challenge.




          13.      Inadvertent failure to designate any information or document or

   portion thereof as Confidential Information pursuant to this Order shall not


   constitute a waiver of any otherwise valid claim for protection, so long as such

   claim and the basis for it is asserted within thirty (30) days of the discovery of the

   inadvertent failure. At such time, arrangements shall be made for the prompt




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   return to the Designating Party, sequestration, or destruction of the specified

   information or document and any copies that the receiving party has, and for the

   substitution, where appropriate, of properly labeled copies; the receiving party

   must not disclose the information or document or portion thereof until the claim is


   resolved, must take reasonable steps to retrieve it if the party disclosed it before

   being notified, and may promptly present it to the court under seal for a

   determination of the claim. The producing party must preserve the information or

   document until the claim is resolved. In the case of inadvertently produced

   privileged and /or work product documents, the relevant procedures set forth in


   the Court' s order regarding the preservation and production of documents and

   electronically stored information shall apply.

          14.    Nothing in this Order shall be deemed to restrict in any manner the

   use by any Designating Party of any of its own information and documents.

          15.    If counsel for any party receives notices of any subpoena or other

   compulsory process commanding production of Confidential Information that a

   party has obtained under the terms of this Order, counsel for such party shall

   within two (2) days if compliance is due in less than ten ( 10) days, or at least seven


    7) business days before compliance is due if compliance is due in more than ten



    10) days, notify the Designating Party in writing, and shall not produce the

   Confidential Information until the Designating Party has had reasonable time to



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   take appropriate steps to protect it. It shall be the responsibility of the Designating

   Party to obtain relief from the subpoena or order prior to the due date for

   compliance, and to give the Designating Party an opportunity to obtain such relief,

   the party from whom the Confidential Information is sought shall not make the

   disclosure before the actual due date of compliance set forth in the subpoena or


   order.




            16.   This Order shall not prevent any of the parties from moving this

   Court for an order that Confidential Information may be disclosed other than in

   accordance with this Order. This Order is without prejudice to the right of any

   party to seek modification of it from the Court. It shall remain in effect until such

   time as it is modified, amended or rescinded by the Court. This Order does not

   affect any party's rights to object to discovery on any grounds other than an

   objection based solely on the ground that the information sought is Confidential

   Information.


            17.   This Order is not intended to govern the use of Confidential


   Information at any trial of this action. Questions about the protection of

   Confidential Information during trial will be presented to the Court and any

   Designating Party prior to or during trial as each party deems appropriate.

            18.   This Court shall have continuing jurisdiction to modify, enforce,

   interpret or rescind this Order, notwithstanding the termination of this action.



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          19.    Within one hundred twenty (120) days after conclusion of this action,

   including the exhaustion of all appeals, all Confidential Information produced in

   this litigation (other than Confidential Information filed with the court or used as



   deposition exhibits) shall be returned to the Designating Party or shall be

   destroyed. However, documents that constitute or contain information protected


   by the attorney -client privilege or work product doctrine that incorporate

   Confidential Information of a Designating Party need not be returned to the

   Designating Party but shall be destroyed within the same time frame. Counsel for

   any party or third party receiving Confidential Information shall make written

   certification of compliance with this provision and shall deliver the same to


   counsel for each Designating Party within one hundred twenty (120) days after the

   conclusion of this action.



          20.    All discovery produced by any party to this action and all

   depositions taken in the following cases and designated as Confidential

   Information in any of such cases shall be deemed to have been produced in this

   action and shall be subject to this order:


                 a.
                        Holiday Shores Sanitary District v. Syngenta Crop Protection,
          Inc. and Growmark, Inc., Madison County, Illinois, Cause No. 2004 -L -710;
                 b.     City of Greenville, Illinois, et al. v. Syngenta Crop Protection,
          Inc. and Syngenta AG, U. S. District Court for the Southern District of
          Illinois, Cause No. 10 -cv- 188- JPG -PMF;




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                      C.   Doe, James, et al. v. Syngenta Crop Protection, LLC, Syngenta
            AG, Growmark, Inc., M &M Service Company, Hamel Seed & Farm Supply,
            Inc., and St. Clair Service Company, St. Clair County, Illinois, Cause No. 13-
            L -425.




   IT IS SO ORDERED




   Dated:




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                                   IN THE CIRCUIT COURT
                               TWENTIETH JUDICIAL CIRCUIT
                                ST. CLAIR COUNTY, ILLINOIS


    THOMAS HOFFMANN, DIANA
    HOFFMANN, JERRY MILLS, RONALD
    NIEBRUEGGE, MARY NIEBRUEGGE,

    JOHN HOPKINS, FREEMON SCHMIDT,
    BETTY SCHMIDT, JAMES HEMKER,
    JUDITH HEMKER, CARROLL ROWAN,
    and MARY ROWAN,
                                                               No. 17 -L -517
              Plaintiffs,
    V.

    SYNGENTA CROP PROTECTION, LLC,
    SYNGENTA AG, CHEVRON PHILLIPS
    CHEMICAL COMPANY LP, and
    GROWMARK INC.,
              Defendants.

                    EXHIBIT A: CONFIDENTIALITY ACKNOWLEDGMENT


         I, ,                                              being duly sworn, on oath
     state.



           1.       I have read and understand the Protective Order to which this


   Exhibit A is annexed and I attest to my understanding that access to information

   designated Confidential Information may be provided to me and that such access

   is pursuant to the terms, conditions and restrictions of the Protective Order. I agree


   to be bound by the terms of the Protective Order. I hereby submit to the

   jurisdiction of this Court for the purpose of enforcement of this Confidentiality

   Acknowledgment and the Protective Order.


           2.       I shall not use or disclose to others, except in accordance with the


   Protective Order, any Confidential Information. If I fail to abide by the terms of

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   this Confidentiality Acknowledgment or the Protective Order, I understand that I

   may be subject to sanctions under the contempt power of this Court.

   Dated:


                                                                     Signature




                                                                Printed Name




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                 Exhibit 2
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 July 28, 2021



 Mr. Joseph Orlet                                     Ms. Leslie Smith
 Husch Blackwell LLP                                  Kirkland & Ellis LLP
 190 Carondelet Plaza                                 300 North LaSalle
 Suite 600                                            Chicago, IL 60654
 St. Louis, MO 63105                                  Lsmith@kirkland.com
 Joseph.Orlet@huschblackwell.com

        RE:      Hoffmann et al., v Syngenta et al.

 Dear Mr. Orlet and Ms. Smith:

        Thank you for notifying us of Judge Rosenstengel’s Case Management Order #5
 (“CMO #5”), entered July 23, 2021 in the paraquat MDL. The Hoffmann plaintiffs object
 to CMO #5’s apparent requirement that you submit to a document repository
 documents that our clients, the plaintiffs in the pending Hoffmann action, designated as
 confidential under the protective order in that case. It is my understanding that this
 specific issue was not raised or discussed at the case management conference held in
 the MDL on Friday, July 23, 2021, and I believe Judge Rosenstengel would not have
 entered such a blanket order had she been made aware of the relevant facts.

        As you know, on September 11, 2018, the St. Clair County Circuit Court entered
 a protective order to help facilitate discovery in Hoffmann. Pursuant to that order, each
 of the parties designated numerous documents as confidential. We have not had time to
 prepare a list of every document we designated confidential on behalf of our clients in
 Hoffmann, but at the very least, that list includes the plaintiffs’ deposition testimony,
 medical records and bills, and financial information, which are personal, private, and of
 no relevance to the litigation in the MDL. That list also includes plaintiffs’ expert
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 reports—all of which are proprietary to this firm, incorporate attorney work product
 and this firm’s trade secrets, and are protected by common-law copyright—and the
 related deposition testimony of the plaintiffs’ experts.

         Paragraph 6 of the Hoffmann protective order lists the persons to whom
 “Confidential” information can be disclosed. The parties and counsel in the federal
 MDL pending before Judge Rosenstengel are not included on that list, and thus
 disclosure to them of the Hoffmann plaintiffs’ confidential documents would violate the
 state court protective order. The protective order expressly contemplates that if a party
 desires to disclose information other than in accordance with the order, the motion shall
 be made to the Circuit Court of St. Clair County. See Hoffmann Protective Order 9-11-18,
 at ¶16.

          Hoffmann is still pending and the protective order, as subsequently modified, is
 still in effect. I am aware of no authority that would permit Judge Rosenstengel to
 require you or anyone else to violate a protective order entered by another judge in a
 pending case. In fact, it appears to be settled law that a party seeking relief from a
 protective order in a pending matter must seek that relief from the court that issued the
 protective order. 1 In short, if the parties and counsel in the federal MDL want access to
 materials in the Hoffmann action that plaintiffs designated confidential pursuant to the
 protective order entered in Hoffmann, they need to seek relief from Judge Hoerner, not
 Judge Rosenstengel.

        None of the materials at issue are in the public record as of yet, because the
 Hoffmann case has yet to be tried. To the extent any of these materials were filed with
 the Circuit Court of St. Clair County, they were filed under seal and remain under seal
 pursuant to the procedure set forth in the protective order.



 1
   See, e.g., State Auto. Mut. Ins. Co. v. Davis, 2:06-CV-00630, 2007 WL 2670262, at *2 (S.D.W. Va. Sept. 7, 2007)
 (“in the interests of fairness, preserving the reliability of protective orders, and upholding the principle of comity,
 the court declines to order production of documents covered by the protective order in Bailey v. Davis…. Any
 request to modify an order entered by the Circuit Court of Nicolas County should be addressed to that court.”);
 Inventio AG v. ThyssenKrupp Elevator Americas Corp., 662 F. Supp. 2d 375, 384 (D. Del. 2009) (observing “this
 Court is without authority to alter the Protective Order entered by another court by ordering production of any
 documents within the scope of the Protective Order” and ordering procedure for parties to follow including returning
 to the original judge who entered the protective order for relief from it); Ohio Willow Wood Co. v. ALPS S., LLC,
 2:05-CV-1039, 2010 WL 3470687, at *2 (S.D. Ohio Aug. 31, 2010), aff’d and adopted, 2:05-CV-1039, 2011 WL
 1043474 (S.D. Ohio Mar. 18, 2011) (“While courts may vacate protective orders issued by another court where the
 case has been closed or otherwise dismissed, ... when the other matter is ongoing, courts have held that any request
 necessitating the modification of the protective order be directed to the issuing court.”).
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                          For obvious reasons, my clients in the state court Hoffmann
 action would be seriously prejudiced if these materials were disclosed in the federal
 MDL prior to trial of their own case.

        And there was very good reason why we designated the materials at issue
 “Confidential” in the first place. For example, two of plaintiffs’ experts (a specific
 causation expert and a life-care planner) spent substantial portions of their reports
 discussing the personal, private medical information and anticipated future medical
 treatment and expenses of each of the Hoffmann plaintiffs. One of the most fundamental
 rights under our Constitution is “the right to the privacy of medical, sexual, financial,
 and perhaps other categories of highly personal information—information that most
 people are reluctant to disclose to strangers.” Wolfe v. Schaefer, 619 F.3d 782, 785 (7th Cir.
 2010). The right can be overcome only upon proof of a strong public interest in access
 to or dissemination of the information. Id. No such showing was made to Judge
 Rosenstengel, and yet her broad order would require the production of thousands of
 pages of personal medical information of my clients in the federal MDL. Again, it
 seems unlikely Judge Rosenstengel would have ordered such production had she
 known they contained private medical information of terminally ill clients in a pending
 matter.

        With respect to all of the expert reports,

                       , some of which incorporate our theories of the case, work
 product, and trade secrets – a fact reflected in our stipulation regarding the non-
 production of draft expert reports and expert communications. In my opinion, the
 attorney work product reflected in these reports are trade secrets under Illinois law, and
 although of necessity have been disclosed to the Hoffmann defendants, have been kept
 confidential from the rest of the world pursuant to the protective order. Further, I
 believe my firm has a common law copyright interest in the expert materials that would
 be destroyed by disclosure without compensation. As one court observed:

        In a society where knowledge is so valuable, there is something unfair
        about the courts permitting their processes, such as the issuance of a
        subpoena, to destroy that market in order to take for free the product of an
        individual’s diligence, research, and expertise. Additionally, a
        technocratic society should not create a means to evade the protection a
        copyright provides, lest it deter creativity and imagination. The Founding
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        Fathers may have written with quill pens, but they appreciated that the
        protection of copyrights was crucial “[t]o promote the Progress of Science
        and useful Arts....” U.S. Const. art I, § 8. Courts should not eviscerate
        copyright protection simply because someone shows up with a subpoena
        rather than a checkbook.

 Statutory Comm. of Unsecured Creditors v. Motorola, Inc., 218 F.R.D. 325, 326 (D.D.C. 2003).
 It would be beyond unfair to allow other plaintiffs’ lawyers a free ride at my firm’s
 expense before these materials are made public at a trial in the Hoffmann action.

        In addition, we also object to your disclosure of your own experts’ reports and
 reliance materials to the extent they include our specific work product in terms of
 material summarized from thousands of pages of depositions. Should you need more
 specific references we are happy to go through those defense reports and identify
 specific testimony and documents. In this condensed time frame for response we have
 not been able to do this.

        For these reasons, we ask that you make Judge Rosenstengel aware of our
 objections to the production of these materials in the federal MDL and ask her to
 modify CMO #5 to the extent it infringes upon our rights and/or the St. Clair County
 Circuit Court’s protective order in Hoffmann. To the extent you continue to be under
 Order to disclose the plaintiff’s documents after disclosing our objections, I ask that you
 notify me immediately so that I may present our objections to the Court.

                                        Sincerely,




                                        Stephen M. Tillery

 SMT/ld
